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                            UNITED STATES DISTRICT COURT
 10
          CENTRAL DISTRICT OF CALIFORNIA — WESTERN DIVISION
 11

 12
      KENDALL GIMBI,                              Case No.: 2:20-cv-07260-AB-MAA
 13

 14
                   Plaintiff,
                                                  [PROPOSED] ORDER
 15          vs.
 16 SCHOOLS FIRST FCU
                   Defendant.
 17

 18

 19                                [PROPOSED] ORDER

 20          Pursuant to the stipulation of the Parties, Defendant Schools First FCU is

 21 dismissed with prejudice and each party shall bear its own attorneys’ fees and

 22 costs.

 23

 24          IT IS SO ORDERED.

 25

 26 DATED:January 12, 2021
                                             Hon. André Birotte Jr.
 27                                          UNITED STATES DISTRICT JUDGE
 28

                                                 1
                                         [PROPOSED] ORDER
